
In re Smith, Ronald; — Plaintiffs); applying for supervisory and/or remedial writ; to the Court of Appeal, Fourth Circuit, No. 93KW-0390; Parish of Orleans, Criminal District, Court Div. “G”, No. 322-802.
Granted. The amended sentence is vacated, and the district court is ordered to resen-tence relator in open court in accordance with La.C.Cr.P. art. 835 and the considerations set out in State v. Desdunes, 579 So.2d 452 (La.1991); State v. Washington, 578 So.2d 1150 (La.1991); and State ex rel. Jackson v. Smith, 578 So.2d 1150 (La.1991).
DENNIS, J., not on panel.
